Case 2:18-cv-04231-RGK-JEM Document 114 Filed 05/03/19 Page 1 of 5 Page ID #:3199




 1 GLANCY PRONGAY & MURRAY LLP
   LIONEL Z. GLANCY (#134180)
 2
   ROBERT V. PRONGAY (#270796)
 3 JASON KRAJCER (#234235)
   LEANNE H. SOLISH (#280297)
 4
   1925 Century Park East, Suite 2100
 5 Los Angeles, California 90067
   Telephone: (310) 201-9150
 6
   Facsimile: (310) 201-9160
 7 Email: jkrajcer@glancylaw.com
 8
   Counsel for Lead Plaintiff Joe Cammarata
 9 and Lead Counsel for the Class
10
                        UNITED STATES DISTRICT COURT
11                     CENTRAL DISTRICT OF CALIFORNIA
12
13 TREVOR MILD, Individually                  Case No.: 2:18-cv-04231-RGK-JEM
   and on Behalf of All Others Similarly
14
   Situated,                                  JOINT STATUS REPORT OF THE
15                                            PARTIES
                     Plaintiff,
16
17 v.
18
   PPG INDUSTRIES, INC., MICHAEL
19 H. MCGARRY, VINCENT J.
20 MORALES, and MARK C. KELLY,
21                    Defendants.
22
23
24
25
26
27
28
                                             -1-
                                    JOINT STATUS REPORT
Case 2:18-cv-04231-RGK-JEM Document 114 Filed 05/03/19 Page 2 of 5 Page ID #:3200




 1         Lead Plaintiff Joe Cammarata and Defendants PPG Industries, Inc., Michael H.
 2 McGarry, Vincent J. Morales and Mark C. Kelly hereby submit this Joint Status
 3 Report. On April 23, 2019, the parties informed the Court that they participated in an
 4 all-day mediation session before former United States District Judge Layn Phillips
 5 and made substantial progress toward resolving this action. D.E. 112. Accordingly,
 6 the parties requested a 10-day continuance of the hearing on Lead Plaintiff’s pending
 7 motion for class certification. Id. On April 24, 2019, the Court entered a Scheduling
 8 Notice and Order, taking Lead Plaintiff’s Motion to Certify Class under submission,
 9 and in light of the parties’ report, holding its ruling on class certification until May 10,
10 2019. D.E. 113.
11         The parties have since reached an agreement in principle to settle this action
12 pursuant to a mediator’s proposal by Judge Phillips, and are proceeding to document
13 the settlement. The parties anticipate filing a motion for preliminary approval of the
14 settlement within the next 30 days. Accordingly, the parties respectfully request that
15 the Court suspend all further proceedings pending the submission of that motion.
16
17 Dated: May 3, 2019                      GLANCY PRONGAY & MURRAY LLP
18
                                           By: s/ Robert V. Prongay
19                                         Lionel Z. Glancy
20                                         Robert V. Prongay
                                           Jason L. Krajcer
21                                         Leanne H. Solish
22                                         1925 Century Park East, Suite 2100
                                           Los Angeles, CA 90067
23                                         Telephone: (310) 201-9150
24                                         Facsimile: (310) 201-9160
                                           Email: lsolish@glancylaw.com
25
26                                         Counsel for Lead Plaintiff Joe Cammarata
                                           and Lead Counsel for the Class
27
28

                                              -2-
                                     JOINT STATUS REPORT
Case 2:18-cv-04231-RGK-JEM Document 114 Filed 05/03/19 Page 3 of 5 Page ID #:3201




 1                                   DECHERT LLP
 2
                                     By: s/ Michael L. Kichline
 3                                   Andrew J. Levander
                                     Catherine V. Wigglesworth
 4
                                     David H. Stern
 5                                   Michael L. Kichline
                                     Roger A. Dixon
 6
                                     Three Bryant Park
 7                                   1095 Avenue of the Americas
                                     New York, NY 10036
 8
                                     Telephone: (212) 698-3683
 9                                   Facsimile: (212) 698-3843
10                                   Email: andrew.levander@dechert.com

11                                   Counsel for Defendants PPG Industries, Inc.,
12                                   Michael H. McGarry, and Vincent J. Morales

13                                   ROPES & GRAY LLP
14
                                     By: s/ Anne Johnson Palmer
15                                   Anne Johnson Palmer (State Bar No. 302235)
16                                   Three Embarcadero Center, Suite 300
                                     San Francisco, CA 94111-4006
17                                   Telephone: (415) 315-6300
18                                   Facsimile: (415) 315-6350
                                     Email: Anne.JohnsonPalmer@ropesgray.com
19
20                                   R. Daniel O’Connor (pro hac vice)
                                     Gregory L. Demers (pro hac vice)
21                                   800 Boylston Street
22                                   Boston, MA 02199-3600
                                     Telephone: (617) 951-7000
23                                   Facsimile: (617) 951-7050
24                                   Email: Daniel.OConnor@ropesgray.com
                                     Email: Gregory.Demers@ropesgray.com
25
26                                   Counsel for Defendant Mark C. Kelly

27
28

                                         -3-
                                JOINT STATUS REPORT
Case 2:18-cv-04231-RGK-JEM Document 114 Filed 05/03/19 Page 4 of 5 Page ID #:3202




 1                 Attestation Pursuant to Civil Local Rule 5-4.3.4(a)(2)
 2        Pursuant to Civil Local Rule 5-4.3.4(a)(2), I, Robert V. Prongay, hereby attest
 3 that the other signatories listed, on whose behalf this filing is submitted, concur in
 4 the filing’s content and have authorized the filing.
 5
                                                          By: s/ Robert V. Prongay
 6                                                        Robert V. Prongay
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                             -4-
                                    JOINT STATUS REPORT
Case 2:18-cv-04231-RGK-JEM Document 114 Filed 05/03/19 Page 5 of 5 Page ID #:3203



    1               PROOF OF SERVICE BY ELECTRONIC POSTING
    2        I, the undersigned say:
    3        I am not a party to the above case, and am over eighteen years old. On May 3,
    4 2019, I served true and correct copies of the following document, by posting the

    5 document electronically to the ECF website of the United States District Court for the

    6 Central District of California, for receipt electronically by the parties listed on the

    7 Court’s Service List.

    8        I affirm under penalty of perjury under the laws of the United States of
    9 America that the foregoing is true and correct. Executed on May 3, 2019, at Los

   10 Angeles, California.

   11

   12                                                s/ Robert V. Prongay
   13
                                                     Robert V. Prongay

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25

   26

   27

   28
